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                   1     LATHAM & WATKINS LLP
                          Jennifer L. Barry (Bar No. 228066)
                   2        jennifer.barry@lw.com
                          Adam A. Herrera (Bar No. 328043)
                   3       adam.herrera@lw.com
                         12670 High Bluff Drive
                   4     San Diego, CA 92130
                         858.523.5400 / 858.523.5450 (Fax)
                   5
                         Attorneys for Plaintiff
                   6     1661, Inc. d/b/a GOAT
                   7
                   8                               UNITED STATES DISTRICT COURT
                   9                             CENTRAL DISTRICT OF CALIFORNIA
              10                                           WESTERN DIVISION
              11
                        1661, INC. d/b/a GOAT,                    CASE NO. 2:23-cv-10853
              12        a Delaware corporation,
              13                             Plaintiff,           Complaint For:
              14                 v.                               (1) Trademark Infringement
                                                                      (Lanham Act, 15 U.S.C. § 1114)
              15        PESJ HOLDING COMPANY, LLC
                        d/b/a SNEAKGALLERY, a Texas               (2) Unfair Competition/False
              16        limited liability company; and DOES           Designation of Origin
                        1-10,                                         (Lanham Act, 15 U.S.C. § 1125(a))
              17
                                                                  (3) Common Law Trademark
              18                             Defendants.              Infringement
              19                                                  (4) Common Law Unfair Competition
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                                                                  DEMAND FOR JURY TRIAL
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                   1                                          COMPLAINT
                   2                                     NATURE OF ACTION
                   3            1.       Plaintiff 1661, Inc. d/b/a GOAT (“GOAT”) brings this Complaint
                   4 against Defendants PESJ Holding Company, LLC d/b/a SneakGallery, and Does 1-
                   5 10 (collectively, “Defendants”) for (i) federal trademark infringement, false
                   6 designation of origin, and unfair competition in violation of the Lanham Act,
                   7 15 U.S.C. § 1125(a); and (ii) common law trademark infringement and unfair
                   8 competition under California law.
                   9            2.       By using their confusingly similar GOAT trademark (the “SG GOAT
              10 Mark”) on identical and/or closely related goods and services, Defendants threaten
              11 to usurp GOAT’s hard-earned goodwill.
              12                3.       GOAT alleges with knowledge concerning its own acts, and on
              13 information and belief as to all other matters (unless otherwise specifically stated),
              14 as follows:
              15                                              THE PARTIES
              16                4.       GOAT is a Delaware corporation with its principal place of business
              17 at 3433 W. Exposition Place, Los Angeles, CA 90018.
              18                5.       Defendant PESJ Holding Company, LLC d/b/a SneakGallery (“SG”)
              19 is a Texas limited liability company with its principal place of business at 2500 N.
              20 Houston Street, Apt. 1803, Dallas, TX 75219. SG conducts business and provides
              21 goods and services using the SG GOAT Mark throughout the United States,
              22 including California and within this District.
              23                6.       Does 1-10 are persons or entities responsible in whole or in part for
              24 the wrongdoing alleged herein (“Doe Defendants”). Each of the Doe Defendants
              25 participated in, ratified, endorsed, and/or was otherwise involved in the acts
              26 complained of, and they have liability for such acts. GOAT will further amend this
              27 Complaint if and when the identities of such persons or entities and/or the scope of
              28 their actions become known.
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                   1            7.       At all relevant times, SG and Doe Defendants acted as the principal,
                   2 agent, and/or representatives of each of the other Defendants. Any action by one
                   3 of the Defendants was within the course and scope of the agency relationship
                   4 between the Defendants and was with the permission, ratification, and/or
                   5 authorization of each of the other Defendants.
                   6            8.       As fully detailed below, Defendants use the SG GOAT Mark in a
                   7 manner that violates GOAT’s longstanding and strong rights in its GOAT® mark.
                   8                                 JURISDICTION AND VENUE
                   9            9.       Pursuant to 15 U.S.C. § 1121(a) and 28 U.S.C. § 1338(a), this Court
              10 has subject matter jurisdiction over GOAT’s claims for relief for violation of the
              11 Lanham Act. Pursuant to 28 U.S.C. § 1338(b), this Court has supplemental
              12 jurisdiction over GOAT’s state law claims because they are joined with substantial
              13 and related claims under the Lanham Act. This Court also has supplemental
              14 jurisdiction over GOAT’s state law claims pursuant to 28 U.S.C. § 1367(a) because
              15 all of GOAT’s claims arise out of a common nucleus of operative facts.
              16                10.      This Court has personal jurisdiction over Defendants because
              17 Defendants have (a) conducted substantial business in the State of California and
              18 this District by advertising, targeting, offering, selling, and providing their
              19 goods/services to residents of this District; (b) derived financial benefits from
              20 residents of the State of California by doing so; (c) purposefully availed
              21 themselves of the privilege of conducting business within the State of California;
              22 (d) sought the protection and benefits of the laws of the State of California; and
              23 (e) the claims arise from Defendants’ activities within and actions targeted at the
              24 State of California.
              25                11.      Venue in this Court exists under 28 U.S.C. § 1391(b)(2) as a
              26 substantial part of the events giving rise to GOAT’s claims occurred within this
              27 District.
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                   1                     FACTS COMMON TO ALL CLAIMS FOR RELIEF
                   2                            GOAT and Its Successful GOAT® Brand
                   3            12.      Under the GOAT® mark, GOAT operates a wildly popular
                   4 e-commerce platform which is available on both a mobile app and website
                   5 (www.goat.com). The GOAT® app and website facilitate the buying and selling, as
                   6 well as authentication, of sneakers, clothing, jewelry, purses, wallets, bags, and
                   7 various fashion accessory items, among other things.
                   8            13.      GOAT’s online platform is a runaway success. The GOAT® app is
                   9 downloaded hundreds of thousands of times every month, and GOAT’s platform
              10 has tens of millions of users around the world.
              11                14.      As a result of its well-managed and trusted platform, GOAT has
              12 developed significant goodwill with its users. Indeed, consumers have come to
              13 recognize GOAT as a trusted source for high quality clothing items and
              14 accessories.
              15                15.      In addition to its online platform, GOAT (and its predecessors in
              16 interest) have, since the early 2000s, been engaged in designing, marketing, and
              17 selling GOAT® branded clothing and accessories.
              18                16.      GOAT’s fame and high-quality goods and services have resulted in
              19 numerous co-branding business relationships with some of the top fashion brands
              20 in the world. For example, Burberry partnered with GOAT to launch the brand’s
              21 Arthur sneaker exclusively on GOAT’s platform. This was preceded by similar
              22 launches with globally recognized brands such as Versace, Chloe and McQ.
              23 GOAT also partnered with Bergdorf Goodman to display highly sought-after
              24 sneakers in Bergdorf Goodman’s iconic store on Fifth Avenue in New York City.
              25                17.      Most recently, GOAT partnered with famed soccer club Paris Saint-
              26 Germain to launch the People of Paris campaign. The partnership is not only a
              27 visual branding experience, but includes the launch of a curated collection of new
              28 and vintage apparel.
                       US-DOCS\143830560.1                                                         COMPLAINT
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                   1                                GOAT’s Intellectual Property Rights
                   2            18.      GOAT owns, and has obtained United States federal registrations for,
                   3 a number of trademarks consisting of the term “goat”:
                   4      Trademark                Class and Description of Goods and Services                 Reg. No.
                   5                                                                                          Reg. Date
                             GOAT            Class 25: Clothing, namely, shirts, pants; knitwear, namely,      3506834
                   6                         knit shirts; ladies’ clothing, namely, dress suits; coats,       09/30/2008
                                             frocks, skirts, dresses, jackets, clothing jerseys, sweaters,
                   7                         trousers, clothing tops, and fashion clothing, namely
                                             evening gowns
                   8         GOAT            Class 35: Catalog ordering service featuring clothing and         4103419
                   9                         clothing accessories; online retail store services featuring     02/28/2012
                                             clothing and clothing accessories; information services
              10                             relating to all of the above services
                             GOAT            Class 9: Computer application software allowing users to          4908318
              11                             find, research, analyze, compare, sell, and purchase goods       03/01/2016
              12                             and services via the Internet, global computer
                                             communication networks, and wireless telecommunications
              13                             networks
                             GOAT            Class 35: Providing an online marketplace for buyers and          5357448
              14                             sellers of collectible consumer goods namely, athletic and       12/19/2017
                                             sporting footwear; database management services; providing
              15                             a website featuring evaluative feedback in the form of
              16                             ratings, reviews, recommendations and other consumer
                                             information regarding the value and prices of sellers’ goods,
              17                             buyers’ and sellers’ performance, delivery, and transaction
                                             experience for commercial purposes; providing a searchable
              18                             advertising guide featuring the goods and services of sellers;
                                             advertising and advertising services
              19
                             GOAT            Class 38: Telecommunication services, namely transmission         5020477
              20                             of electronic messages, text messages, and push-notification     08/16/2016
                                             alerts between consumer product buyers and sellers on the
              21                             Internet, global computer communications networks, and
                                             wireless telecommunications networks
              22             GOAT            Class 42: Providing temporary use of online non-                  5020478
              23                             downloadable software for electronic business transactions       08/16/2016
                                             in online marketplaces utilizing the Internet, global
              24                             computer communication networks, and wireless
                                             telecommunications networks; authentication services in the
              25                             field of collectible consumer goods, namely, the inspection
                                             and verification of authenticity of athletic and sporting
              26                             footwear, apparel, and works of art
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                   1            19.      The foregoing marks are collectively referred to as the “GOAT
                   2 Marks.” The foregoing registrations are collectively referred to as the “GOAT
                   3 Registrations.”
                   4            20.      A number of the GOAT Registrations, including the registration
                   5 covering clothing (Reg. No. 3506834), are incontestable pursuant to 15 U.S.C.
                   6 § 1065, which constitutes conclusive evidence of the registrations’ validity, as well
                   7 as GOAT’s entitlement to the exclusive use of the marks in commerce throughout
                   8 the United States on the goods and services listed in the registrations.
                   9            21.      Further, the GOAT Registrations constitute prima facie evidence that
              10 the GOAT Marks are valid, and that GOAT is entitled to the exclusive use of the
              11 GOAT Marks in commerce throughout the United States on the goods and services
              12 listed in the registrations.
              13                22.      GOAT, and its predecessors in interest, have been and are now
              14 engaged in the business of developing, creating, distributing, marketing,
              15 advertising, and selling a broad range of clothing items and accessories under the
              16 GOAT Marks. In fact, through its predecessors in interest, GOAT has been using
              17 the GOAT Marks for clothing and accessories for over 20 years.
              18                23.      Through careful cultivation of its goods and services provided under
              19 the GOAT Marks, GOAT has developed an outstanding reputation as a provider of
              20 high quality clothing items and accessories. GOAT has also become a household
              21 name in the fashion industry and has developed an extremely loyal customer
              22 following.
              23                24.      Through GOAT’s widespread and continuous use of its family of
              24 GOAT Marks, these marks have acquired extensive goodwill, developed a high
              25 degree of distinctiveness, and become well-known and recognized as identifying
              26 goods and services that originate from GOAT.
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                   1                         Defendants’ Unauthorized Use of the GOAT Marks
                   2            25.      Defendants have used the SG GOAT Mark (which incorporates the
                   3 entirety of the GOAT® mark) in connection with their clothing and apparel
                   4 company.
                   5            26.      Defendants also registered the www.sneakgallery.com domain name,
                   6 which Defendants have used to operate their online clothing store.
                   7            27.      On information and belief, through their online store, Defendants
                   8 promoted and sold clothing under the SG GOAT Mark throughout the United
                   9 States. Examples of the types of clothing that Defendants have sold to consumers
              10 are shown below:
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                   1            28.      Defendants also advertise their online store, as well as products
                   2 bearing the SG GOAT Mark, on various social media platforms, such as Facebook,
                   3 Instagram, and Twitter (“Infringing Social Media Accounts”). Indeed, Defendants
                   4 prominently display the SG GOAT Mark and direct consumers to the
                   5 sneakgallery.com website, as shown below:
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              18                                       (instagram.com/sneakgallery)
              19                29.      On the Infringing Social Media Accounts, Defendants regularly
              20 promote the specific clothing offered under the SG GOAT Mark, as shown in the
              21 below examples:
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              12                                   (instagram.com/p/CMLrJKDFktm)
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              27                         (twitter.com/SneakGallery/status/1600938943943700481)
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                   1            30.      In light of GOAT’s renown, online presence, and long history of
                   2 providing goods and services under the GOAT Marks, GOAT is understandably
                   3 concerned that consumers will likely be confused and mistakenly believe that
                   4 Defendants and their goods and/or services are endorsed, approved, or sponsored
                   5 by, or affiliated, connected, or associated with, GOAT.
                   6            31.      On information and belief, Defendants intentionally adopted and/or
                   7 used the SG GOAT Mark to capitalize on GOAT’s success.
                   8            32.      Indeed, Defendants have been well aware of GOAT’s rights to the
                   9 GOAT® mark. Specifically, on December 6, 2019, Defendants filed an application
              10 (Serial No. 88/718154) with the U.S. Patent and Trademark Office (“USPTO”) to
              11 register the SG GOAT Mark in connection with “Bottoms as clothing for men;
              12 Tops as clothing for men” in Class 25. On March 9, 2020, the USPTO issued a
              13 Nonfinal Office Action Letter (the “Letter”) in which it explicitly refused
              14 registration for the SG GOAT Mark because of a likelihood of confusion with Reg.
              15 No. 3506834 (i.e., GOAT’s incontestable registration identified above).
              16 Defendants abandoned their application, did not respond to the Letter, and
              17 nonetheless went forward with building their SG GOAT brand.
              18                33.      GOAT attempted to reconcile its concerns with Defendants, including
              19 through letters sent in November 2020 and March 2023, as well as through various
              20 follow-up correspondence. However, Defendants have refused to meaningfully
              21 engage in negotiations, let alone cease use of their infringing mark.
              22                34.      Given Defendants’ failure to respond to GOAT’s concerns,
              23 Defendants’ continuing use of the SG GOAT Mark, and Defendants’ determination
              24 to cause consumer confusion, GOAT is forced to bring this suit to fully litigate and
              25 resolve the trademark issues between the parties.
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                   1       GOAT Is Harmed By Defendants’ Continuing Infringement and Unlawful
                   2                                              Conduct
                   3            35.      Defendants’ continued use of the confusingly similar SG GOAT Mark
                   4 in commerce violates GOAT’s valuable intellectual property rights in the GOAT
                   5 Marks and GOAT Registrations, and Defendants’ knowing, intentional, willful,
                   6 and malicious use of the SG GOAT Mark is damaging to GOAT and GOAT’s
                   7 property.
                   8            36.      Defendants have used the SG GOAT Mark to unfairly usurp and
                   9 capitalize on the value and goodwill of the GOAT Marks and GOAT Registrations.
              10 Defendants are aware of GOAT’s strong trademark rights and reputation in the
              11 marketplace, but nevertheless, use the SG GOAT Mark to profit from the goodwill
              12 associated with the GOAT Marks and GOAT Registrations.
              13                37.      Defendants have intentionally and knowingly capitalized off of
              14 confusion between the GOAT Marks, and the SG GOAT Mark, including by
              15 providing goods that are nearly identical to the goods offered by GOAT.
              16                38.      Defendants compete directly with GOAT by offering similar goods
              17 and services, including apparel, accessories, and online retail store services.
              18 Because Defendants and GOAT are competitors, and consumers have been
              19 deceived into purchasing Defendants’ products, Defendants are diverting
              20 consumers and business away from GOAT.
              21                39.      Due to Defendants’ continuing willful infringement and unlawful
              22 conduct, GOAT is now forced to bring this Complaint to protect its valuable and
              23 longstanding intellectual property rights. GOAT had to retain counsel and incur
              24 substantial fees and costs (and it continues to incur those fees and costs) to
              25 prosecute this suit and pursue its claims.
              26                40.      GOAT’s interest in protecting its intellectual property rights and its
              27 products and services from consumer confusion outweigh any harm to Defendants.
              28
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                   1 The public interest is best served by granting GOAT’s requested relief against
                   2 Defendants.
                   3                                   FIRST CLAIM FOR RELIEF
                   4                         Federal Trademark Infringement – 15 U.S.C. § 1114
                   5            41.      GOAT incorporates by reference the factual allegations set forth
                   6 above.
                   7            42.      GOAT owns the GOAT Marks and the GOAT Registrations. The
                   8 trademarks reflected in the GOAT Registrations are strong and distinctive and
                   9 designate GOAT as the source of all products and services advertised, marketed,
              10 sold, or used in connection with the GOAT Marks.
              11                43.      GOAT is the senior user of the GOAT Marks as it began use of those
              12 marks in interstate commerce prior to Defendants’ first use of the confusingly
              13 similar SG GOAT Mark.
              14                44.      Defendants do not have authorization, license, or permission from
              15 GOAT to market and sell their goods and services under the SG GOAT Mark,
              16 which is confusingly similar to the GOAT Marks, and which is used by Defendants
              17 with goods and services that are identical and/or closely related to the particular
              18 goods and services associated with the GOAT Marks.
              19                45.      Defendants were aware of the GOAT Marks, as Defendants were on
              20 constructive notice based on GOAT’s longstanding federal registrations, as well as
              21 on actual notice based on the numerous communications between GOAT and
              22 Defendants about this matter. Yet, Defendants continued to use their SG GOAT
              23 Mark. Thus, Defendants’ unauthorized use of the SG GOAT Mark was and is
              24 knowing, intentional, and willful.
              25                46.      As a direct and proximate result of Defendants’ wrongful conduct,
              26 GOAT has been and will continue to be damaged.
              27                47.      Defendants’ actions therefore constitute trademark infringement.
              28
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                   1            48.      Unless an injunction is issued enjoining any continuing or future use
                   2 of the confusingly similar SG GOAT Mark by Defendants, such continuing or
                   3 future use is likely to continue to cause confusion, mistake, or deception as to
                   4 source, origin, affiliation, or sponsorship, and will thereby irreparably harm
                   5 GOAT.
                   6            49.      Defendants’ activities have caused and will continue to cause
                   7 irreparable harm to GOAT, for which it has no adequate remedy at law, because:
                   8 (i) the GOAT Marks comprise unique and valuable property rights that have no
                   9 readily determinable market value; (ii) Defendants’ infringement constitutes
              10 interference with GOAT’s goodwill and customer relationships and is harming and
              11 will continue to substantially harm GOAT’s reputation as a source of high-quality
              12 goods and services; and (iii) Defendants’ wrongful conduct, and the damages
              13 resulting to GOAT, are continuing. Accordingly, GOAT is entitled to injunctive
              14 relief pursuant to 15 U.S.C. § 1116(a).
              15                50.      Pursuant to 15 U.S.C. §1117(a), GOAT is entitled to an order:
              16 (i) requiring Defendants to account to GOAT for any and all profits derived from
              17 their infringing actions, to be increased in accordance with the applicable
              18 provisions of law; and (ii) awarding all damages sustained by GOAT that were
              19 caused by Defendants’ conduct.
              20                51.      Defendants’ conduct was and is intentional and without foundation in
              21 law, and, pursuant to 15 U.S.C. § 1117(a), GOAT is therefore entitled to an award
              22 of treble damages against Defendants.
              23                52.      Defendants’ acts make this an exceptional case under 15 U.S.C.
              24 § 1117(a); thus GOAT is entitled to an award of attorneys’ fees and costs.
              25                                    SECOND CLAIM FOR RELIEF
              26        Federal Unfair Competition/False Designation of Origin – 15 U.S.C. § 1125(a)
              27                53.      GOAT incorporates by reference the factual allegations set forth
              28 above.
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                   1            54.      The GOAT Marks are strong and distinctive and designate GOAT as
                   2 the source of all goods and services advertised, marketed, sold, or used in
                   3 connection with those marks. In addition, by virtue of GOAT (and its
                   4 predecessors) decades of use of the GOAT Marks in connection with its products
                   5 and services, and its extensive marketing, advertising, promotion, and sale of its
                   6 products and services under that mark and the GOAT Marks, the GOAT Marks,
                   7 have acquired secondary meaning, whereby the consuming public of this district,
                   8 the State of California, and the United States associate the GOAT Marks with a
                   9 single source of products and services.
              10                55.      GOAT is the senior user of the GOAT Marks as it began use of those
              11 marks in interstate commerce prior to Defendants’ first use of the confusingly
              12 similar SG GOAT Mark.
              13                56.      Defendants were aware of the GOAT Marks because Defendants were
              14 on constructive notice based on GOAT’s longstanding federal registrations, as well
              15 as on actual notice based on the numerous communications between GOAT and
              16 Defendants about this matter. Yet, Defendants continued to use their SG GOAT
              17 Mark. Thus, Defendants’ unauthorized use of the SG GOAT Mark was and is
              18 knowing, intentional, and willful.
              19                57.      Through their use of the confusingly similar SG GOAT Mark,
              20 Defendants intended to, and did in fact, confuse and mislead consumers into
              21 believing, and misrepresented and created the false impression, that GOAT
              22 somehow authorized, originated, sponsored, approved, licensed, or participated in
              23 Defendants’ use of the confusingly similar SG GOAT Mark.
              24                58.      In fact, there is no connection, association, or licensing relationship
              25 between GOAT and Defendants, nor has GOAT ever authorized, licensed, or given
              26 permission to Defendants to use the confusingly similar SG GOAT Mark in any
              27 manner.
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                   1            59.      Defendants’ use of the confusingly similar SG GOAT Mark will
                   2 likely cause confusion as to the origin and authenticity of Defendants’ website, the
                   3 Infringing Social Media Accounts, and the related goods and services promoted
                   4 and sold through these channels. Moreover, Defendants’ use of the SG GOAT
                   5 Mark will likely cause others to believe that there is a relationship between
                   6 Defendants and GOAT when there is, in fact, not.
                   7            60.      As a direct and proximate result of Defendants’ wrongful conduct,
                   8 GOAT has been and will continue to be damaged.
                   9            61.      Defendants’ actions thus constitute false designation of origin and
              10 unfair competition.
              11                62.      Defendants’ activities have caused, and will continue to cause,
              12 irreparable harm to GOAT, for which it has no adequate remedy at law, in that:
              13 (i) the GOAT Marks comprise unique and valuable property rights that have no
              14 readily determinable market value; (ii) Defendants’ infringement constitutes
              15 interference with GOAT’s goodwill and customer relationships and will
              16 substantially harm GOAT’s reputation as a source of high-quality goods and
              17 services; and (iii) Defendants’ wrongful conduct, and the damages resulting to
              18 GOAT, are continuing. Accordingly, GOAT is entitled to injunctive relief
              19 pursuant to 15 U.S.C. § 1116(a).
              20                63.      Pursuant to 15 U.S.C. §1117(a), GOAT is entitled to an order:
              21 (i) requiring Defendants to account to GOAT for any and all profits derived from
              22 its actions, to be increased in accordance with the applicable provisions of law; and
              23 (ii) awarding all damages sustained by GOAT that were caused by Defendants’
              24 conduct.
              25                64.      Defendants’ conduct was and is intentional and without foundation in
              26 law, and pursuant to 15 U.S.C. § 1117(a), GOAT is therefore entitled to an award
              27 of treble damages against Defendants.
              28
                       US-DOCS\143830560.1                                                         COMPLAINT
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                   1            65.      Defendants’ acts make this an exceptional case under 15 U.S.C.
                   2 § 1117(a); thus GOAT is entitled to an award of attorneys’ fees and costs.
                   3                                 THIRD CLAIM FOR RELIEF
                   4                            Common Law Trademark Infringement
                   5            66.      GOAT incorporates by reference the factual allegations set forth
                   6 above.
                   7            67.      GOAT has valid and protectable common law rights in the GOAT
                   8 Marks.
                   9            68.      GOAT is the senior user of the GOAT Marks.
              10                69.      Defendants’ conduct constitutes infringement of GOAT’s common
              11 law rights in the GOAT Marks.
              12                70.      Defendants’ use of the confusingly similar SG GOAT Mark on
              13 unauthorized goods and services is likely to cause confusion as to the origin of
              14 Defendants’ goods and services and is likely to cause others to believe that there is
              15 a relationship between Defendants and GOAT.
              16                71.      Defendants’ wrongful acts have permitted and will permit them to
              17 receive substantial profits based upon the strength of GOAT’s reputation and the
              18 substantial goodwill it has built up in the GOAT Marks.
              19                72.      As a direct and proximate result of Defendants’ wrongful conduct,
              20 GOAT has been and will continue to be damaged.
              21                73.      Unless an injunction is issued enjoining any continuing or future use
              22 of the GOAT Marks by Defendants, such continuing or future use is likely to
              23 continue to cause confusion and thereby irreparably damage GOAT. GOAT has
              24 no adequate remedy at law. Accordingly, GOAT is entitled to an injunction.
              25                                    FOURTH CLAIM FOR RELIEF
              26                                   Common Law Unfair Competition
              27                74.      GOAT incorporates by reference the factual allegations set forth
              28 above.
                       US-DOCS\143830560.1                                                         COMPLAINT
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                   1            75.      GOAT has expended significant time and expense in developing the
                   2 GOAT Marks and the high-quality products and services it markets and sells under
                   3 those marks. The GOAT Marks have been very successful and have developed a
                   4 substantial reputation and goodwill in the marketplace.
                   5            76.      Through their wrongful conduct, Defendants have misappropriated
                   6 GOAT’s efforts and are exploiting the GOAT Marks and GOAT’s reputation to
                   7 market and sell their services under the SG GOAT Mark. These actions constitute
                   8 unfair competition.
                   9            77.      As a direct and proximate result of Defendants’ wrongful conduct,
              10 GOAT has been and will continue to be damaged.
              11                78.      Unless an injunction is issued enjoining Defendants’ unfairly
              12 competitive conduct, GOAT will continue to be damaged irreparably. GOAT has
              13 no adequate remedy at law. Accordingly, GOAT is entitled to an injunction.
              14                79.      Defendants have acted willfully, intentionally, and maliciously, such
              15 that GOAT is entitled to punitive damages.
              16                                                  PRAYER
              17                WHEREFORE, GOAT prays for the following relief:
              18                A.       An injunction ordering Defendants, and their officers, directors,
              19 members, agents, servants, employees, and attorneys, and all other persons acting
              20 in concert or participating with them (collectively, the “Enjoined Parties”), who
              21 receive actual notice of the injunction order by personal or other service, to:
              22                       i.    cease all use and never use the SG GOAT Mark, the GOAT Marks,
              23                             or any other mark likely to cause confusion with the GOAT Marks
              24                             (including any misspelling or variation of those Marks) in, on, or
              25                             with any products or services, or in connection with the
              26                             advertising, marketing, or other promotion, distribution, offering
              27                             for sale, or sale, of any products or services, including on websites
              28                             and the Social Media Accounts;
                       US-DOCS\143830560.1                                                           COMPLAINT
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                                                                       16                  DEMAND FOR JURY TRIAL
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                   1                  ii.    never use any false designation of origin, false representation, or
                   2                         any false or misleading description of fact, that can, or is likely to,
                   3                         lead the consuming public or individual members thereof, to
                   4                         believe that any products or services produced, offered, promoted,
                   5                         marketed, advertised, provided, sold or otherwise distributed by
                   6                         the Enjoined Parties is in any manner associated or connected with
                   7                         GOAT, or are licensed, approved, or authorized in any way by
                   8                         GOAT;
                   9                 iii.    never represent, suggest in any fashion to any third party, or
              10                             perform any act that may give rise to the belief, that the Enjoined
              11                             Parties, or any of their products or services, are related to, or
              12                             authorized or sponsored by, GOAT;
              13                      iv.    never register any domain name that contains any of the GOAT
              14                             Marks (including any misspelling or variation of those Marks), or
              15                             any domain name that is confusingly similar to any of the GOAT
              16                             Marks;
              17                      v.     transfer to GOAT all domain names in the Enjoined Parties’
              18                             possession, custody, or control that include the word “goat”
              19                             (including any misspelling or variation of this word), or that are
              20                             otherwise confusingly similar to or contain any of the GOAT
              21                             Marks, or were used in connection with the SG GOAT Mark;
              22                      vi.    transfer to GOAT, disable, or delete all Social Media Accounts that
              23                             were used to promote the SG GOAT Mark, including all such
              24                             accounts in Defendants’ possession, custody, or control that
              25                             include the word “goat” (including any misspelling or variation of
              26                             this word), or that are otherwise confusingly similar to or contain
              27                             any of the GOAT Marks, or were used in connection with the SG
              28                             GOAT Mark; and
                       US-DOCS\143830560.1                                                             COMPLAINT
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                   1                 vii.    never unfairly compete with GOAT in any manner whatsoever, or
                   2                         engage in any unfair, fraudulent, or deceptive business practices
                   3                         that relate in any way to the production, distribution, marketing,
                   4                         and/or sale of products and services bearing any of the GOAT
                   5                         Marks or any other mark likely to cause confusion with the GOAT
                   6                         Marks (including any misspelling or variation of those Marks);
                   7                 viii.   never apply for or seek to register the SG GOAT Mark, any of the
                   8                         GOAT Marks, or any other mark likely to cause confusion with the
                   9                         GOAT Marks (including any misspelling or variation of those
              10                             Marks).
              11                B.       An order, pursuant to 15 U.S.C. § 1118, requiring the Enjoined Parties
              12 to deliver and destroy within thirty (30) days all prints, advertising, packaging,
              13 goods, and other materials bearing the SG GOAT Mark.
              14                C.       An order pursuant to 15 U.S.C. § 1116(a), directing the Enjoined
              15 Parties to file with the Court and serve upon GOAT’s counsel, within thirty (30)
              16 days after service of the order of injunction, a report in writing under oath setting
              17 forth in detail the manner and form in which the Enjoined Parties have complied
              18 with the injunction.
              19                D.       To give practical effect to the Court’s injunction, an order that the
              20 social networking service or entity (e.g., Facebook) related to any of the social
              21 media accounts subject to this Order will, within fourteen (14) days of receipt of
              22 the Order, transfer, disable, or otherwise cancel those subject accounts at GOAT’s
              23 request if the Enjoined Parties have not already done so.
              24                E.       To give practical effect to the Court’s injunction, an order that the
              25 Registry or Registrar for any of the foregoing domain names will, within fourteen
              26 (14) days of receipt of the Order, transfer or otherwise assign those subject domain
              27 names to GOAT if the Enjoined Parties have not already done so.
              28
                       US-DOCS\143830560.1                                                           COMPLAINT
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                   1            F.       An order finding that, by the acts complained of above, Defendants
                   2 have infringed GOAT’s federally registered trademarks in violation of 15 U.S.C.
                   3 § 1114.
                   4            G.       An order finding that, by the acts complained of above, Defendants
                   5 have created a false designation of origin and false representation of association in
                   6 violation of 15 U.S.C. § 1125(a).
                   7            H.       An order finding that, by the acts complained of above, Defendants
                   8 have engaged in common law trademark infringement.
                   9            I.       An order finding that, by the acts complained of above, Defendants
              10 have engaged in common law unfair competition.
              11                J.       An order awarding GOAT:
              12                       i.      Pursuant to 15 U.S.C. § 1117(a), GOAT’s actual damages, as
              13                               well as all of Defendants’ profits or gains of any kind from their
              14                               acts of trademark infringement, false designation of origin, and
              15                               unfair competition, including a trebling of those damages; and
              16                      ii.      Punitive damages pursuant to California common law.
              17                K.       An order pursuant to 15 U.S.C. § 1117(a), finding that this is an
              18 exceptional case and awarding GOAT its reasonable attorneys’ fees.
              19                L.       An order pursuant to 15 U.S.C. § 1117(a), awarding GOAT all of its
              20 costs, disbursements, and other expenses incurred due to Defendants’ unlawful
              21 conduct.
              22                M.       An order awarding GOAT pre-judgment interest.
              23                N.       An order awarding GOAT such other relief as the Court deems
              24 appropriate.
              25                                            JURY DEMAND
              26                Pursuant to Rule 38 of the Federal Rules of Civil Procedure, GOAT
              27 demands a trial by jury.
              28
                       US-DOCS\143830560.1                                                         COMPLAINT
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                   1 Dated: December 28, 2023       Respectfully submitted,
                   2                                LATHAM & WATKINS LLP
                   3
                                                    By /s/ Jennifer L. Barry
                   4                                  Jennifer L. Barry
                   5                                     Attorneys for Plaintiff
                                                         1661, Inc. d/b/a GOAT
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